Case 2:Ol-CV-02503-SH|\/|-tmp Document 575 Filed 06/20/05 Page 1 of 4 Page|D 689

 

IN THE UNITED sTATEs DISTRICT cOURT 931
FOR THE WESTERN DISTRICT OF TENNESSEE Uq JUP[
WESTERN DIVISION " *29 PH 212,

 

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FEDERAL EXPRESS coRP. , W-D- 1OJF-` §§ §§ng

Plaintiff,
V. NO. Ol-2503-MaP
ACCU SORT SYSTEMS, INC

' |'

Defendant.

 

ORDER GRANTING PERMISSION TO FILE REPLY

 

Before the court is plaintiff's June 16, 2005, unopposed
motion to file a reply in further support of its motion in limine
to exclude testimony by late~disclosed fact and expert witnesses.
For good cause shown, the motion is granted and plaintiff may
file its reply.

It is so ORDERED this iq day of June, 2005.

 

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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Honorable Samuel Mays
US DISTRICT COURT

